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AO 245B (Rev. 4/2013-MD/PA) Judgment
in a Criminal Case Sheet 1

UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA JUDGMENT IN A CRIMINAL CASE
Vv. )
JOHNNIE WILLIAMS Case Number: 3:CR-14-199
USM Number: 18514-076
) Ingrid S. Cronin, Esq.
Defendant’s Attorney
THE DEFENDANT:
wv pleaded guilty to count(s) one (1) of the Information.
L} pleaded nolo contendere to count(s)
which was accepted by the court.
[] was found guilty on count(s)
after a plea of not guilty.
The defendant is adjudicated guilty of these offenses:
Title & Section Nature of Offense Count

ie

The defendant is sentenced as provided in pages 2 through 6 of this judgment. The sentence is imposed pursuant to

the Sentencing Reform Act of 1984.
[] The defendant has been found not guilty on count(s)

OC Count(s) Cj is  (Jare dismissed on the motion of the United States.

.,._ It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid’ If ordered to pay restitution,
the defendant must notify the court and United States attorney of material changes in economic circumstances.

12/4/2014

Date of Jmposition of Judgment

“Cec A

Signature of Judge

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DEC 05 2014 Richare Fe eenaboy. United States District Judge
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DEPUTY CLERK Date
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AO 245B (Rev. 4/2013-MD/PA) Judgment
in a Criminal Case Sheet 2 — Imprisonment

Judgment — Page 2 of 6

DEFENDANT: JOHNNIE WILLIAMS
CASE NUMBER: 3:CR-14-199

IMPRISONMENT

The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
total term of:

Pursuant to the Sentencing Reform Act of 1984, IT IS THE JUDGMENT of the Court that the defendant, Johnnie Williams, is
hereby committed to the custody of the Bureau of Prisons to be imprisoned for thirty(30) months. The term of imprisonment
imposed by this Judgment shall run consecutively to the defendant's imprisonment imposed in Docket Number 2:
CR-05-20400-003 in United States District Court in the Western District of Tennessee.

() The court makes the following recommendations to the Bureau of Prisons:

we The defendant is remanded to the custody of the United States Marshal.

{] The defendant shall surrender to the United States Marshal for this district:
O at Oam © pm. on
(as notified by the United States Marshal.

[] The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

[1 before 2 p.m. on

[as notified by the United States Marshal.
C) as notified by the Probation or Pretrial Services Office.

[] The defendant is to contact the United States Marshal's Office no later than three days prior to the above date to be notified of the
place of confinement.

RETURN
T have executed this judgment as follows:
Defendant delivered on to
a , with a certified copy of this judgment.
UNITED STATES MARSHAL
By

DEPUTY UNITED STATES MARSHAL
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AO 245B (Rev. 4/2013-MD/PA) Judgment in a
Criminal Case Sheet 2A — Imprisonment

Judgment—Page 3 of ~~ 6.

DEFENDANT: JOHNNIE WILLIAMS
CASE NUMBER: 3:CR-14-199

ADDITIONAL IMPRISONMENT TERMS

You can appeal your conviction if you believe that your guilty plea was somehow unlawful or involuntary, or if there is
some other fundamental defect in the proceedings that was not waived by your guilty plea. You also have a Statutory right
to appeal your sentence under certain circumstances, particularly if you think the sentence is contrary to law. With few
exceptions, any notice of appeal must be filed within 14 days after sentence is imposed on you.

If you are unable to pay the cost of an appeal, you may apply for leave to appeal in forma pauperis. If you so request, the
Clerk of the Court will prepare and file a notice of appeal on your behalf.”

The defendant shall cooperate in the collection of a DNA sample
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AO 245B (Rev. 4/2013-MD/PA) Judgment in a Criminal Case
Sheet 3 ~ Supervised Release

Judgment—Page 4 of 6

DEFENDANT: JOHNNIE WILLIAMS
CASE NUMBER: 3:CR-14-199

SUPERVISED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for a term of :

Because the defendant is subject to a three-year term of supervised release upon his release from imprisonment and any
additional term is required by statute to run concurrently with that term, a term of supervised release is not imposed.

The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the
custody of the Bureau of Prisons.

The defendant shall not commit another federal, state or local crime.

The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter, as determined by the court.

(1) The above drug testing condition is suspended, based on the court’s determination that the defendant poses a low risk of
future substance abuse. (Check, if applicable.)

The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)

CO
[] The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)
O

The defendant shall comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, et seq.)
as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she resides,
works, is a student, or was convicted of a qualifying offense. (Check, if applicable.)

C] The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)

If this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with the
Schedule of Payments sheet of this judgment.

The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional! conditions
on the attached page.

STANDARD CONDITIONS OF SUPERVISION

1) _ the defendant shall not leave the judicial district without the permission of the court or probation officer;

2) the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;

3) the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
4) _ the defendant shall support his or her dependents and meet other family responsibilities;

5) the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
acceptable reasons;

6) the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;

7) the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;

8) the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;

9) the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a
felony, unless granted permission to do So by the probation officer;

10) the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
contraband observed in plain view of the probation officer;

11) the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;

12) the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
permission of the court;

13) _ as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant’s criminal
record or personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the
defendant’s compliance with such notification requirement; and

14) the defendant shall notify the court of any material change in the defendant's economic circumstances that might affect the
defendant's ability to pay restitution, fines, or special assessments.
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Sheet 5 —- Criminal Monetary Penalties

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DEFENDANT: JOHNNIE WILLIAMS
CASE NUMBER: 3:CR-14-199

CRIMINAL MONETARY PENALTIES

The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

Assessment Fine Restitution
TOTALS $ 100.00 $ 0.00 $ 0.00
[) The determination of restitution is deferred until . An Amended Judgment in a Criminal Case (AO 245C) will be entered

after such determination.
(] The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

If the defendant makes a partial payment, each payee shall receive an approximately pro ortioned payment, unless specified otherwise in
the priority order or percentage payment column below. However, pursuant to 18°U.S.C. § 3664(i), all nonfederal victims must be paid
before the United States is paid.

Total Loss* Restitution Ordered Priority or Percentage

Name of Payee

TOTALS $ 0.00 $ 0.00

[) Restitution amount ordered pursuant to plea agreement $

The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

[] The court determined that the defendant does not have the ability to pay interest and it is ordered that:
(J the interest requirement is waived for the (1 fine (€] restitution.

{] the interest requirement forthe ( fine 1 restitution is modified as follows:

* Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on or after
September 13, 1994, but before April 23, 1996.
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Sheet 6 — Schedule of Payments

Judgment — Page 6 of 6

DEFENDANT: JOHNNIE WILLIAMS
CASE NUMBER: 3:CR-14-199

SCHEDULE OF PAYMENTS

Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties is due as follows:

A  () Lumpsum payment of $ 100.00 due immediately, balance due

C1 not later than , or
[(] in accordance tT] ¢, 0 D, OQ Eo JG F below; or

[] Payment to begin immediately (may be combined with [C, O1D,or [F below); or
C [Payment in equal (e.g., weekly, monthly, quarterly) installments of $ over a period of
(e.g., months or years), to commence (e.g., 30 or 60 days) after the date of this judgment; or
D (J Payment in equal (e.g., weekly, monthly, quarterly) installments of $ over a period of
(e.g., months or years), to commence (e.g., 30 or 60 days) after release from imprisonment to a

term of supervision; or

E () Payment during the term of supervised release will commence within (e.g., 30 or 60 days) after release from
imprisonment. The court will set the payment plan based on an assessment of the defendant’s ability to pay at that time; or

F w Special instructions regarding the payment of criminal monetary penalties:

The COURT FINDS that the defendant does not have the ability to pay a fine.
IT IS ORDERED that the defendant shall pay to the Clerk, U.S. District Court, a special assessment of $100, due

immediately.

Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, pa ment of criminal monetary penalties is due durin
imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons’ Inmate Financia
Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

C1 Joint and Several

Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
and corresponding payee, if appropriate.

CL] The defendant shall pay the cost of prosecution.
L] The defendant shall pay the following court cost(s):

[] The defendant shall forfeit the defendant’s interest in the following property to the United States:

Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
